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Foreign Assistance: Where Does the
Money Go?

August 8, 2024




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                                                                             R48150
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                                                                                                           SUMMARY

                                                                                                       R48150
Foreign Assistance: Where Does the
                                                                                                       August 8, 2024
Money Go?                                                                                              Nick M. Brown
Congress provided $66.1 billion in foreign assistance appropriations in FY2023. In allocating          Analyst in Foreign
foreign assistance and overseeing agencies’ execution of those funds, some Members of                  Assistance
Congress have focused on the countries, international organizations, and sectors (global health,
counter-narcotics, basic education, etc.) receiving aid. Congressional oversight has shed less light
on the implementing partners through whom funding turns into programs, and the partnerships
that activate that programming.

This report provides an overview of the major methods of foreign assistance delivery, focusing on nonmilitary aid
programmed through the U.S. Agency for International Development (USAID). It uses information from government
databases, policies and strategies, and program descriptions to explain how aid dollars go from appropriation by Congress to
expenditure by implementing partners.

Most U.S. foreign aid is provided as a “project,” assistance designed and implemented to achieve discrete and defined
development objectives. Projects deliver commodities, technical assistance (as either short-term consultants or long-term
advisors and staff), equipment, infrastructure, events, and grants, among other things. A smaller share of assistance is
provided to fund the general operating budgets of foreign governments (known as “budget support”) or U.S. contributions to
public international organizations (known as “core contributions”). Administrative costs consume a portion of aid funds as
well, which Congress has long monitored. Finally, agencies sometimes provide foreign assistance loans or loan guarantees,
though this is now a much smaller share of assistance than in USAID’s early years.

USAID spends aid dollars mostly through “implementing partners”: third parties that include private contractors, nonprofit
organizations, foreign governments, international organizations, and other U.S. government agencies. Implementing partners
may be U.S., foreign, or international organizations. Projects are typically executed through either an “acquisition” contract,
typically with a for-profit implementing partner, or an “assistance” grant or cooperative agreement, typically with a nonprofit
organization, foreign government, or public international organization. Since FY2019, USAID funding has incrementally
shifted from acquisition to assistance.

When evaluating U.S. foreign assistance policy and providing oversight of agency implementation of foreign assistance
funds, Congress may weigh a series of trade-offs related to implementing partners and mechanisms, such as the following:
    •    What are the risks and benefits of using U.S. firms and nonprofits, versus local partners, to implement U.S.
         foreign assistance?
    •    Which types of expenditures constitute the “cost of doing business,” and how would Congress balance such
         costs against program funds?
    •    What information should Congress seek on contractor indirect costs, and what is the proper way to evaluate
         the shape and size of those expenses?
    •    What are the benefits and drawbacks of implementing aid through multilateral mechanisms, such as public
         international organizations?
    •    Should USAID consider its nongovernmental implementing partners primarily as a tool to implement U.S.
         foreign assistance, or as an independent community of development workers that may be indifferent toward
         U.S. assistance priorities?
This report is intended to describe the implementation vehicles used to deliver foreign assistance, not the appropriations,
program planning, and award processes from which they result. For more details on the funding process, see CRS In Focus
IF11515, U.S. Foreign Assistance: Budget Development and Execution, by Nick M. Brown. For a broad overview of U.S.
foreign assistance, see CRS Report R40213, Foreign Assistance: An Introduction to U.S. Programs and Policy, by Emily M.
McCabe and Nick M. Brown.




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Introduction
Congress appropriated $66.1 billion for foreign assistance activities in FY2023.1 In overseeing
agencies’ execution of those funds, Congress requires substantial information from agencies
about foreign assistance funding levels, recipient countries, and the reasons for the assistance.2
The resulting reports and notifications often highlight a country’s need for assistance but not
necessarily how those needs will be met.3 Detailed reporting on field activities explains how
funds are spent. However, such information is unevenly available across agencies, geographies,
projects, and assistance sectors. It is often especially unclear whether aid is provided primarily in
the form of goods, services, or cash. In the absence of such details, policymakers and the public
may be unaware what aid dollars actually provide to targeted communities overseas.4
Most agencies provide U.S. foreign assistance through “implementing partners.” Few foreign
governments receive direct budget support, and some foreign assistance dollars never leave the
United States at all—instead going to a U.S. business for the end benefit of a foreign population.
Money goes to U.S. farmers, defense contractors, and management consultants, among others, for
commodities or services provided to benefit foreign populations. This report is about the
implementing partners that spend the vast majority of aid dollars on behalf of the U.S.
government. It largely addresses nonmilitary assistance managed by the U.S. Agency for
International Development (USAID), the lead provider of nonmilitary U.S. foreign assistance.
This report describes who implements nonmilitary aid, how agencies partner with them, and why
such matters may be of congressional interest. It examines the types of aid (project-based, budget
support, and administrative costs) and their relative magnitude, then details the types of partners
that agencies engage: firms and nonprofit organizations, public international organizations
(PIOs), foreign governments, and other U.S. agencies. Finally, it explores selected issues in
implementation that have generated interest in the 118th Congress and some previous Congresses.
Data in this report are based on foreign assistance obligations as reported in
foreignassistance.gov, focusing on FY2013-2022, the last year for which data was fully reported
at the time of this report’s publication.5




1 For detailed information on U.S. foreign assistance funding, see CRS Report R47579, Department of State, Foreign

Operations, and Related Programs: FY2024 Budget and Appropriations, by Emily M. McCabe and Cory R. Gill.
2 For a general overview of U.S. foreign assistance, see CRS Report R40213, Foreign Assistance: An Introduction to

U.S. Programs and Policy, by Emily M. McCabe and Nick M. Brown.
3 For recent examples, see USAID, Report to Congress on Programs in Forestry and the Conservation of Biodiversity

During Fiscal Year 2021: Results and Funding, January 2023; Department of State, Congressional Budget
Justification: Department of State, Foreign Operations, and Related Programs, March 9, 2023, pp. 114-117.
Congressional notifications are nonpublic and thus not cited in this report.
4 See Myth #4 and #5 at George Ingram, “What every American should know about US foreign aid,” October 2, 2019.

See also exchange between Senator Paul and Secretary of State nominee Rex Tillerson, U.S. Congress, Senate
Committee on Foreign Relations, Nomination of Rex Tillerson to be Secretary of State, 115th Cong., 1st sess., January
11, 2017, S. HRG. 115–4 (Washington: GPO, 2017), pp. 71-72.
5 Foreignassistance.gov is the primary government website for reporting of foreign assistance. It was created to meet

the requirements of the Foreign Aid Transparency and Accountability Act of 2016 (FATAA, P.L. 114-191) and is used
to meet the public reporting requirements of the Foreign Assistance Act of 1961, as amended (P.L. 87-195).
Foreignassistance.gov reports that a few agencies have not completed FY2022 reporting, but the website indicates
reporting for that year is comprehensive, unlike for FY2023. As a result, this report uses FY2022 data.



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                                                    Key Terms
 An implementing partner is an entity who partners with USAID to execute a foreign assistance activity. This
 term may refer to private contractors, nonprofit organizations, foreign governments, international organizations,
 and other U.S. government agencies.
 Economic assistance is all nonmilitary foreign assistance provided by the U.S. government.
 A project is funding with a set of inputs, activities, and outputs to reach a specific objective within a defined time
 frame, budget, and geographical area.6
 A scope of work is a description of the activities an implementing partner is to do for the government.
 Institutional support contractors are personnel who work within USAID but are employed by a private firm,
 which administers their benefits, compensation, and supervision. They perform work that supports internal agency
 operations but cannot perform “inherently governmental functions” such as setting agency policy and supervising
 federal employees.7
 Personal services contractors work on time-limited assignments with USAID, often in support of USAID’s
 internal processes.
 A for-profit firm, often called a “contractor,” seeks to implement foreign assistance for a fee, to make a profit.
 A nonprofit organization seeks to implement foreign assistance to advance its own mission—such as improving
 the plight of disadvantaged people or promoting environmental sustainability—not to make a profit. Generally,
 nonprofits are not described as contractors, as they usually implement grants and cooperative agreements, not
 contracts.



Types of Foreign Aid
Foreign assistance takes various forms. It may include the direct provision of commodities and
equipment (e.g., food and generators); capacity-building technical assistance to partner
governments or local beneficiaries; funding for transportation, water, or energy infrastructure;
support to the general budget of foreign governments and international organizations; and direct
lending or loan guarantees to partner governments, among others. For reporting purposes,
agencies categorize all of these activities under five aid “types”: Projects, Administrative Costs,
Core Contributions, Budget Support, Technical Assistance, and Other. Most U.S. foreign aid in
recent years has been classified as projects, funded and managed through aid agencies (see
Figure 1).




6 Adapted from Organisation for Economic Co-operation and Development (OECD) Committee Working Party on

Development Finance Statistics, “Converged Statistical Reporting Directives for the Creditor Reporting System (CRS)
and the Annual DAC Questionnaire: Annexes,” April 9, 2021, p. 107. USAID maintains its own definition with
references to its internal procedures; for reader accessibility, this report does not use that definition here. USAID
defines an “activity” as a single implementing mechanism (such as a contract, grant, or cooperative agreement) to carry
out one or several interventions, whereas a “project” is a group of activities designed to coordinate and advance a
development result. USAID, ADS 201, pp. 51-52; USAID, “Activity Design,” https://www.usaid.gov/activity-design,
accessed June 6, 2023; USAID, “Project Design,” https://www.usaid.gov/project-design, accessed August 3, 2023. This
report includes both “project-type” and “technical assistance” when calculating totals for this aid type, as data from
reporting agencies did not indicate a substantial difference in implementation approaches between those two
classifications.
7 Inherently governmental functions are defined in the Federal Acquisition Regulation Subpart 7.5.




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              Figure 1. U.S. Nonmilitary Foreign Aid, by Type, FY2013-FY2022
                              Obligated Funding, by percentage of total assistance




    Source: ForeignAssistance.gov.
    Notes: ForeignAssistance.gov classifies aid as “military” and “economic.” Economic aid includes assistance for
    governance, nuclear security, public health, and humanitarian assistance, among others. Given the variety of
    assistance, this report adopts the term “nonmilitary” for anything classified in foreignassistance.gov as
    “Economic” aid.

These categories may be misleading. Project-based aid includes certain types of assistance
provided directly to partner governments for ongoing operations, or for purchasing commodities
delivered directly to disaster-affected communities. U.S. foreign assistance agencies report aid
type under a framework agreed and maintained by the Organisation for Economic Co-operation
and Development’s (OECD’s) Development Assistance Committee (DAC), a forum of leading
bilateral donor countries.8 This reporting paradigm applies to all donors, and it does not account
for the U.S. approach to foreign assistance delivery, leading to some apparently anomalous
classifications. For instance, aid appropriated as “direct financial support” to the Government of
Ukraine in 2022 was structured as a reimbursement for verified government expenditures—such
as teachers’ salaries and social assistance payments—and managed by the World Bank. That
funding has been classified as a project, including in the above figure, though the funding is
meant to support Ukraine’s central budget.
The aid type classifications used in reporting are important background to understand agencies’
relationships with an implementing partner, though the partner type is highly consequential for
how aid will be implemented (see “Implementing Partner Types ”). While data reported in
foreignassistance.gov may lack nuances necessary to understand the nature of each partnership, it
still provides useful topline information about relative aid flows.

Projects
Projects take many forms but generally involve a third-party implementing partner working under
an agreement with the managing foreign aid agency (see “Managing, Funding, and Implementing
Agencies” text box). Such projects generally have a high-level goal, several objectives to advance
that goal, a series of quantitative targets for making progress toward that objective, and a well-
defined “scope of work” for the implementing partner (see “Key Terms” text box). Usually, the
project goal is aspirational and would require complementary developments outside the project

8 See Organisation for Economic Co-operation and Development, Development Assistance Committee Working Party

on Development Finance Statistics, “Converged Statistical Reporting Directives for the Creditor Reporting System
(CRS) and the Annual DAC Questionnaire: Annexes,” April 9, 2021,



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itself to be achieved—such as effective leadership by the central government, receptivity to new
practices by local populations, and a relatively stable implementing environment. In practice,
projects are diverse. A project’s scope may involve delivery of medicine or food, building a
highway, researching a new technology, or advising a government on customs procedures, among
others. A nongovernmental organization (NGO) is the most common partner organization for
USAID. Of the $181.5 billion in foreign assistance obligations for projects by USAID from
FY2013 to 2022,9 NGOs implemented $109.8 billion (60%).10 Public international organizations
(PIOs) are the second-largest category of project-based implementing partners.

                         Managing, Funding, and Implementing Agencies11
 In many cases, the agency funding an activity is not the one that oversees it or carries it out. Large portions of the
 aid budget involve partnerships across agencies as a result of agencies’ policy competencies, skill in managing
 implementers, preferences of Congress, and implementation ability. For instance, the State Department controls
 funding allocations for the Economic Support Fund (ESF), which is the U.S. government’s aid account chiefly
 motivated by foreign policy concerns, but after determining funding allocations, the State Department transfers
 much of its ESF funding to USAID to develop the projects, select implementers, and oversee implementation.
 “Managing agency” may also be described as the “administering agency,” and the “funding agency” often takes part
 in shaping the project design. In some cases, agencies may be the implementing partner themselves; for example,
 the Peace Corps operates a USAID-funded “Small Projects Assistance” program that Peace Corps volunteers
 implement in the field.


Project-based assistance is the predominant method of providing foreign assistance for several
reasons. For one, this structure mitigates the risk of implementing partners diverting funding to
objectives outside of U.S. priorities.12 Project-based aid expenditures are to be “allowable,
allocable, and reasonable” under an agency-designed scope of work.13 Detailed scopes of work
allow audits of project costs and direct oversight of project activities, making reporting lines
clearer.
USAID typically initiates projects by developing a preliminary design and a research agenda to
further scope the concept.14 Agency staff develop these proposals and then submit them for


9 Foreignassistance.gov. Data include “Implementing Partner Category” of “Church and Faith Based,” “Enterprises,”

“NGO,” “Public and Private Partnerships,” and “Universities and Research Institutes.” Data are included for USAID
alone because certain other agencies’ reporting includes some anomalies. For example, the Millennium Challenge
Corporation reports itself as the implementing partner for all of its compacts, despite its operational model consistently
delegating compact implementation to the recipient country’s government. While such anomalies may also occur
within USAID’s reported data, a random sampling of data conducted by CRS did not indicate any such systemic
reporting anomalies.
10 While NGOs are sometimes colloquially equated with nonprofit organizations, this report uses the term “NGO” for

both nonprofits and for-profits because programming arrangements are often similar for both groups of implementing
partners. Firms are also often called “contractors” because of their contractual relationship with USAID, and
“contractor” is also often used for individual consultants employed by USAID. Nonprofit organizations are seldom
considered contractors, as they usually operate under a grant or cooperative agreement. While widely used, this report
avoids the term “contractor” given its imprecision.
11 “Managing” and “Funding” agencies is derived from foreignassistance.gov, “Glossary,”

https://www.foreignassistance.gov/about#tab-glossary, accessed August 3, 2023.
12 See USAID, “Risk Appetite Statement: A Mandatory Reference for ADS Chapter 596,” August 22, 2022, pp. 11-12.

13 These three terms determine whether a cost may be reimbursed by the government. An “allowable” cost is not

prohibited by law or regulation. An “allocable” cost is associated with the scope of work in the implementer’s
agreement. A “reasonable” cost is one a “prudent” businessperson would incur to carry out the activity. USAID,
“Country Contracting Handbook Chapter 4: Cost Principles for Country Contracts,” Mandatory Reference to ADS 305,
last revised July 16, 2001, pp. 5-6.
14 The content in this section is largely based on USAID, “Automated Directive System Chapter 201: Program Cycle

Operational Policy (ADS 201),” revised July 17, 2024, pp. 57-89.



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approval.15 The resulting proposal (1) states a development problem (usually associated with
objectives in a country strategy or a global initiative’s strategy), (2) hypothesizes how a project
may solve it (a “theory of change”), and (3) proposes an approach to implementing that solution.
If approved, USAID then issues a call for proposals from implementing partners, with the
implementation approach as the “scope of work.” For instance, a USAID project may identify
evidence that professionalizing a government’s revenue collection and budget development
processes leads to improved government responsiveness to its constituents more generally,
improving faith in government and stabilizing democratic institutions. USAID officials then may
propose a fiscal management project intended to build capacity in a partner government’s tax and
budget bureaus.16 Such projects may comprise a single implementing partner award or several.
A paradigmatic project contains a dedicated scope of work with established deliverables and
performance targets, to be carried out by an implementing partner’s team over a defined time
period (typically not to exceed five years). A project may include building infrastructure,
technical assistance, supply of goods or services, or some combination of all three. Usually,
projects are divided into several work streams, each called “components.” The fiscal management
project, for example, may include (1) technical assistance to reform an agency’s administrative
procedures, (2) training for bureau staff in modern accounting practices, (3) a quantitative
analysis of current tax compliance rates, (4) a marketing campaign encouraging citizens to pay
their taxes, and (5) sourcing of new accounting software for each bureau to track finances better.
Projects often have “cross-cutting themes” as well, which may include addressing the needs of
vulnerable populations and ensuring the views of local residents are taken into account, among
others.

Budget Support and Core Contributions
In contrast to project-based assistance, a U.S. foreign assistance agency may fund the general
budget of a recipient organization. The Foreignassistance.gov database uses the label “budget
support” for funding provided to a recipient government to support general operating costs rather
than a specific scope of work. The label “core contribution” is used when such funding is
provided to public international organizations (such as United Nations entities). Since at least
1995, most such assistance has been provided to public international organizations, with a smaller
share going to foreign governments. Since 2022, the substantial budget support to Ukraine has
reversed this balance, although that aid has been classified as a project.17
USAID generally has issued budget support to foreign governments in a funding tranche after the
government has met a predefined milestone.18 In providing budget support, USAID generally has
relinquished exclusive control over spending, and funds instead have been managed according to

15 Other agencies’ planning processes differ substantially. The Millennium Challenge Corporation (MCC) is one such

example. MCC asks its potential recipient countries to develop such proposals, in line with its “country-led”
development approach. For further information on the Millennium Challenge Corporation (MCC), see CRS Report
RL32427, Millennium Challenge Corporation: Overview and Issues, by Nick M. Brown.
16 See, for example, USAID El Salvador, Country Development Cooperation Strategy (CDCS) FY 2020-2025, updated

March 24, 2021, p. 35.
17 These descriptions are adapted from the OECD’s statistical reporting framework, which U.S. assistance agencies use

for their aid type reporting. OECD DAC Working Party on Development Finance Statistics, “Converged Statistical
Reporting Directives for the Creditor Reporting System (CRS) and the Annual DAC Questionnaire: Annexes,” April 9,
2021, p. 104. A small share of core contributions, less than 10%, is allocated to international nonprofits, mostly the
International Committee of the Red Cross.
18 The analysis here, as well as throughout the report, focuses primarily on the period FY2013 to present. It is possible

that in earlier periods, particularly prior to the 1980s when budget support was a much larger share of U.S. assistance,
such funding was not in exchange for performance milestones.



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the recipient’s own budgetary procedures and authorities.19 While USAID has less direct control
over the recipient’s use of budget support aid, the agency does control whether it issues a funding
tranche. For instance, USAID generally has provided budget support to Jordan (a top recipient of
U.S. budget support aid) after the USAID/Jordan mission certifies annually that certain policy
reforms have been met.
For core contributions, the United States generally has not structured its funding in tranches.
Rather, U.S. representatives have a direct role in the organization’s decisionmaking—often as a
shareholder, member of the Board of Directors, or in appointing the organization’s leadership. For
instance, the United States influences the World Bank’s decisionmaking as a major shareholder
and nominates its President.20

Budget Support: Loans and Loan Guarantees
Historically, U.S. budget support to governments included a substantial lending element. From
1962 to 1988, loans represented 28% of total U.S. economic foreign assistance.21 Since 1988,
Congress and the executive branch have shifted away from lending toward primarily grant-based
assistance, viewing loans as contributing to already-burdensome debt levels among aid
recipients.22 There has been some recent renewed interest in converting grant-based budget
support to loans, with an FY2024 aid package to Ukraine requiring budget support through a loan
rather than a grant.23
More frequently since the end of the Cold War, USAID has provided financing to governments
through loan guarantees rather than direct loans. Loan guarantees are a commitment to repay all
or part of a loan in the event a borrower stops payments. From 1993 to 2017, USAID issued 20
guarantees of sovereign bond issuances to Middle Eastern states and Ukraine, but only three
remain active.24 The most recent such guarantees were issued in support of countries facing fiscal
constraints due to political crises (the Arab Spring and the Russian incursion into Crimea and
Eastern Ukraine). USAID has not issued any guarantees since 2017.25
Development financing to private entities, including loans and loan guarantees, remains an active
area of U.S. support for international development. The U.S. International Development Finance
Corporation administers most of those activities, typically by financing private sector projects
rather than sovereign debt.26 This financing generally has been based on market rates and, as a
result, has not been accounted as foreign assistance.


19 Ibid. As noted above, this reporting framework is derived from the OECD, whose classifications may not align neatly

with U.S. foreign assistance implementation paradigms (for example, classifying Ukraine budget support as a project).
20 USAID Office of Inspector General (OIG), Jordan Cash Transfer Program: USAID Generally Followed the Grant

Agreement and Agency Policy With Some Due Diligence Exceptions, Report Number 8-278-23-001-P, November 17,
2022, p. 4.
21 USAID, U.S. Overseas Loans and Grants and Assistance from International Organizations: Obligations and Loan

Authorizations, July 1, 1945 - September 30, 1988, CONGR-R-0105, 1989, p. 4.
22 Volumes of the U.S. Overseas Loans and Grants and Assistance from International Organizations publication issued

since 1989. While the Food for Peace program continued to offer some loans after 1988, USAID lending ended. CRS
Report 98-916, Foreign Aid: An Introductory Overview of U.S. Programs and Policy, by Curt Tarnoff and Larry
Nowels, updated January 19, 2005 (nondistributable but available to congressional clients upon request).
23 See Section 507 of the Ukraine Security Supplemental Appropriations Act, 2024 (Div. B of P.L. 118-50).

24 USAID, Agency Financial Report Fiscal Year 2018, December 19, 2018, p. 51.

25 USAID, Agency Financial Report Fiscal Year 2023, November 15, 2023, p. 84.

26 See CRS Report R47006, U.S. International Development Finance Corporation: Overview and Issues, by Shayerah

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Administrative Costs
Administrative costs are funds used to deliver or implement aid that do not fit the definitions of
project aid or budget support/core contributions.27 From FY2013 to FY2022, U.S. assistance
agencies directed 7.7% of nonmilitary foreign assistance obligations toward administrative costs.
The parameters of administrative costs are highly nuanced and differ from agency to agency:
some agencies, for instance, classify monitoring and evaluation as an administrative cost, while
others do not. Congressional directives from the 1970s have shaped what USAID classifies as
administrative costs. Congress directed that the following two categories be funded by the
“Operating Expenses” account:
    •    All salaries and benefits of USAID direct hires, including Foreign Service and
         Civil Service, including when those employees are working to oversee a project
         activity.
    •    All costs not directly related to a specific project.28
USAID classifies all Operating Expenses as an administrative cost. Activities are considered
operating expenses if they are inherently governmental or part of the cost of doing business.
Examples include developing USAID policies and notices to Congress, drafting contract
agreements for projects, and managing USAID accounting.29 Because all USAID salaries are
considered administrative costs, work such as supporting project implementation and designing
development interventions are considered
administrative expenditures. By contrast,
administrative work by USAID implementing               Figure 2. USAID Funding Obligations, by
partners is considered a project cost.                 Implementing      Partner Type, FY2013-2022


Implementing Partner
Types
U.S. foreign aid agencies seldom directly
implement aid programs. Agencies partner with for-
profit firms, nonprofit organizations, foreign
governments, public international organizations
(PIOs), other U.S. agencies, and individuals to
carry out their programs (see Figure 2). USAID
uses the broad term “implementing partner” to
describe any member of its partner community.
Many of these partners align primarily with a
particular partnering mechanism (firms with
contracts; nonprofits with cooperative agreements;                  Source: foreignassistance.gov.
U.S. government agencies with interagency                           Notes: See footnote 13 for organization types
agreements; foreign governments with bilateral                      included in “Non-Governmental Organizations”
                                                                    category.
grant agreements; and so on). However, partner

27 Adapted from OECD DAC Working Party on Development Finance Statistics, “Converged Statistical Reporting

Directives for the Creditor Reporting System (CRS) and the Annual DAC Questionnaire: Annexes,” April 9, 2021, p.
110.
28 USAID, ADS Chapter 601: Funding Source Policy, revised April 4, 2022, p. 2.

29 For more examples of USAID operating expenses, see USAID, ADS Mandatory Reference 601maa, “Cost of Doing

Business,” revised February 10, 2004.



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models vary according to the project, and multiple types of implementing partners may apply for
any U.S. foreign assistance funding opportunity. Certain NGOs, such as the National Endowment
for Democracy, are government-sponsored entities that receive nearly all their funding from the
U.S. government, and many universities implement both contracts and cooperative agreements.30
This section profiles each type of partner, focusing especially on the partnering models most
characteristic of each partner category.

Nongovernmental                                               Figure 3. USAID Funding Obligations, by
Organizations                                                         NGO Type, FY2013-2022

Among nongovernmental organizations
(NGOs), U.S. assistance may be directed
toward two types of entities: for-profit
enterprises, sometimes classified as “firms,”
and nonprofit organizations (see “Definitions”
text box). Foreign assistance reporting also
includes distinct categories for universities
and research institutes as well as church and
faith-based organizations. For-profit firms
generally seek out “acquisition” opportunities
with agencies, governed by the Federal
Acquisition Regulation and usually resulting
in a contract. Nonprofits typically seek
“assistance” opportunities, which result in
grants and cooperative agreements (see                  Source: foreignassistance.gov.
“Acquisition and Assistance: What’s the
Difference?” text box). This report uses the term “NGO” to refer collectively to nonprofit and for-
profit private organizations.31 There is no restriction on nonprofit organizations competing for
contracts nor for-profit firms competing for grants and cooperative agreements, and NGOs often
implement a composite of each. Despite that, because USAID prohibits profits on grants and
cooperative agreements, firms generally prioritize contracts.32 Both instruments are subject to
competitive processes, although grants and cooperative agreements can be awarded more quickly
and with fewer restrictions.33 Within nonmilitary assistance, USAID dwarfs other agencies in the
volume of its NGO partnering—69.8% of all NGO-implemented nonmilitary aid obligations in
2022 came from USAID.34 Within USAID, most of these activities are routed through USAID’s
acquisition and assistance officers, who oversee competition and administration of the agency’s
project-based agreements.




30 National Endowment for Democracy, FY2021 Financial Report, September 30, 2021, p. 4.

31 See footnotes 11 and 12 for considerations related to this terminology.

32 Firms may seek such opportunities to build out new technical expertise or defray some of their operating costs,

among other reasons.
33 USAID’s policies indicate that the lead time for acquisition is about nine months and five months for assistance.

USAID, ADS 201, p. 57.
34 Foreignassistance.gov.




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                        Acquisition and Assistance: What’s the Difference?
 Foreign assistance agencies’ partnerships with NGOs are classified as either acquisition or assistance relationships.
 Acquisition largely corresponds to contracts and direct purchases, typically with for-profit entities, whereas assistance
 includes grants and cooperative agreements, typically with nonprofit organizations. A cooperative agreement is
 similar to a grant but generally involves a greater role for USAID in overseeing activities, and contracts generally
 involve a still-greater oversight role for USAID.
 Acquisition mechanisms are intended for the purchase of goods or services to achieve an agency’s own objectives.
 By contrast, assistance provides funding to a third party to carry out activities that align with the objectives of both
 the funding agency and the implementing partner. Most contracts are implemented by for-profit entities with a
 primary objective to be profitable (even if owners also seek to advance social aims). For instance, pharmaceutical
 companies may specialize in producing medicines to cure a disease, but their objective is to sell those medicines for
 a profit, not to give them away as a goodwill measure. By contrast, assistance partnerships provide funding to a third
 party to carry out activities that align with the objectives of both the funding agency and the implementing partner.35
 For example, USAID may fund a nonprofit health clinic to administer the medicine that USAID has procured.
 In many cases, the distinction between these two partnering models is straightforward: an agency seeking to provide
 medical care for HIV/AIDS patients is likely to purchase medicine from a pharmaceutical firm and to provide grant
 funding to a local clinic to administer that medicine. One of the most substantial differences between the two types
 of partnerships is that while implementing partners may make a profit on acquisition mechanisms, they may not do
 so under assistance.
 In other cases, however, acquisition and assistance may look very similar during implementation. In Mozambique,
 for example, USAID contracted with DAI, a firm whose stated sectoral expertise includes rural agricultural
 development, to implement a Feed the Future program from 2017 to 2022 oriented on expanding production and
 sales of certain cash crops.36 Over the same time period, USAID also issued a cooperative agreement to Winrock
 International, a U.S. nonprofit organization with a technical group dedicated to strengthening food systems, to
 manage a regional program in northern Mozambique focused on increasing crop yields and crop resilience. 37


Grants and cooperative agreements appear to make up substantially more USAID funding than
contracts, with three-quarters of new NGO awards by value going to assistance in FY2023,
compared with a quarter to acquisition.38 Across all USAID foreign assistance to NGOs from
FY2013 to FY2022, 59.8% of funding went to nonprofit organizations and 40.2% went to for-
profit firms (see Figure 3). Universities and research institutes comprised an important subset of
nonprofits, accounting for 6.5% of USAID funding to nonprofits from FY2013 to FY2022.
USAID partners with these institutions in part for their sectoral research expertise, in particular
agricultural schools and public health research facilities. Church and faith-based organizations
were a second substantial subset from FY2013 to FY2022, with 5.8% of USAID funding for
nonprofits over the same period. Over half of that funding was directed to a single organization,
Catholic Relief Services, primarily for disaster assistance. Table 1 lists USAID’s top reported
NGO implementing partners.39 From FY2013-FY2022, of the more than 6,000 unique NGOs who

35 Federal Grant and Cooperative Agreement Act (FGCAA), 31 U.S.C. §6301.

36 USAID, “Feed the Future Mozambique Innovations (FTF INOVA),” October 2019; DAI, “Economic Growth,”

https://www.dai.com/our-work/solutions/economic-growth.
37 Winrock International, “Agriculture, Resilience & Water,” fact sheet, 2023; Winrock International, “Feed the Future

Mozambique Resilient Agricultural Markets Activity – Nacala Corridor, Year 2, Quarter 1 Report October 1, 2017-
December 31, 2017.”
38 USAID Office of Acquisition and Assistance (OAA), 2023 Fiscal Year Progress Report, February 16, 2024, p. 3.

Interagency Agreements and grants to PIOs are excluded because this section focuses on NGOs. Personal Services
Contracts are included as acquisition. This analysis includes indefinite quantity contracts, which may not be fully
utilized—if not, the share for acquisition would be further reduced. Note that award amounts are not obligations but
reflect the ceiling value of a contract.
39 This list is incomplete; more than a third of obligations in foreignassistance.gov over this period are marked as

redacted or “other.” Implementing partner names may be redacted on the basis of exceptions provided in the Foreign
Aid Transparency and Accountability Act of 2016 (FATAA, P.L. 114-191). Those exceptions are to protect the
implementing partner’s health or physical security, or to protect the national security interests of the United States.



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received nonmilitary assistance obligations, the share of aid implemented by the top ten partners,
by obligation value, has remained around 20%.40
USAID assistance implemented through NGOs largely goes to U.S. organizations, with 82.7% of
NGO assistance obligations from FY2013 to FY2022 allocated to U.S. NGOs.41 USAID has been
seeking to reduce this percentage in favor of more aid implemented through local organizations
(see “Local Partnering”), although some of the 17.3% of USAID assistance implemented by non-
U.S. NGOs include multinational organizations, such as Deloitte (see Table 1), and partners
based in other donor countries, such as the Canadian CGI Group, Inc.42
Implementation may differ considerably from activity to activity. Assistance projects range from
“cooperative agreements” with tens of millions of dollars in funding, multiple project teams, and
a multiyear project office funded with USAID assistance, to small-scale grants of thousands or
hundreds of dollars, including to innovators seeking to pilot a new approach to development, or to
communities affected by a natural disaster seeking to rebuild their homes. Given limited USAID
staff resources to manage the thousands of small grants issued yearly, implementing partners
typically issue those smaller-scale awards as “subgrants” or “grants under contract.”
Implementing partners also procure goods and services from third parties, further expanding the
number of organizations involved in any activity.43 Contracts may exceed $1 billion in total value
and be implemented across multiple countries, several scopes of work, and several technical
areas, or may be as small as a few dollars, like a taxi receipt.44 Acquisition and assistance awards
include both direct and indirect costs. “Direct costs” are those expenses associated with the direct
implementation of the activity. “Indirect costs” include an implementing partner’s central office
expenses, including management and administrative labor wages, fringe benefits such as annual
leave, office rent for the central office (whereas project office rents are directly allocable to the
activity), and accounting software, among other costs.45




40 Foreignassistance.gov. The 6,000 figure is a fraction of the total number of NGOs receiving U.S. assistance, as it

does not include sub-grantees and vendors under USAID projects.
41 This amount includes both U.S. NGOs and international NGOs that are domiciled in the United States but with

offices or subsidiaries in other countries—such as Save the Children Federation and the International Rescue
Committee. Such international NGOs do not include public international organizations—a separate category.
42 Foreignassistance.gov.

43 It would be difficult to precisely tabulate how many subawards implementing partners issue each year. As one

example, however, the USAID Office of Transition Initiatives project in Iraq reported that in one six-month period, it
approved 72 new activities, consisting of subcontracts, grants-under-contract, and other award types—some activities
may include multiple implementing partners. Chemonics International, “Understanding USAID Awards: ‘How to Work
with USAID” Training Series,’” December 2022, April 30, 2021, p. 3.
44 For one of USAID’s largest anticipated projects in its history, see USAID, “NextGen Global Health Supply Chain,”

https://www.usaid.gov/partner-with-us/find-a-funding-opportunity/next-generation-global-health-supply-chain.
45 USAID, “An Indirect Cost Rate Guide for Non-Profit Organizations,” January 27, 2023, pp. 31-39.




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        Table 1. NGOs Obligated More than $1 Billion in U.S. Nonmilitary Foreign
                              Assistance, FY2013-FY2022
                                                                                                        Total
                                                                                                     Obligations,
  Rank                  Organization Name                          Organization Type                 FY2013-2022

 1          Catholic Relief Services                        U.S. faith-based organization            $4,637,395,555
 2          Chemonics International, Inc.                   U.S. for-profit enterprise               $4,536,397,348
 3          FHI 360                                         International nonprofit                  $3,788,300,843
 4          Development Alternatives, Inc.                  U.S. for-profit enterprise               $3,071,449,561
 5          Abt Associates, Inc.                            U.S. for-profit enterprise               $2,629,027,445
 6          RTI International                               U.S. university/research institute       $2,307,061,081
 7          John Snow International                         U.S. nonprofit                           $1,840,556,823
 8          Save the Children Federation, Inc.              U.S. for-profit enterprise               $1,543,142,073
 9          ARD, Inc.                                       International nonprofit                  $1,485,806,517
 10         Jhpiego Corporation                             U.S. nonprofit                           $1,260,308,627
 11         Deloitte                                        Non-U.S. for-profit enterprise           $1,174,468,049
 12         World Vision                                    International nonprofit                  $1,166,734,792
 13         Mercy Corps                                     U.S. nonprofit                           $1,135,480,585
 14         ADCI/VOCAa                                      U.S. nonprofit                           $1,084,647,816
 15         Population Services International               International nonprofit                  $1,077,027,102

      Source: foreignassistance.gov.
      Notes: In addition, more than $50 billion over this period was obligated to “redacted” or otherwise unspecified
      recipients, some or much of which may include these organizations. The distinction between a “U.S. nonprofit”
      and an “international nonprofit” was not provided in foreignassistance.gov. This report provides these
      classifications to align with the government’s reporting of the data.
      a. Also does business as “Agriculture Cooperative Development International/Volunteers in Overseas
            Cooperative Assistance.”


Public International Organizations
Public international organizations (PIOs), also known as multilateral organizations and
international organizations, are organizations generally consisting of multiple member states,
such as United Nations (U.N.) agencies and multilateral development banks.46 PIOs implemented
35.4% of U.S. nonmilitary foreign assistance from 2013 to 2022. While USAID was the single
largest U.S. foreign assistance contributor to PIOs by managing agency from FY2013 to 2022,
several U.N. entities partner primarily with the Department of State, and the Department of the
Treasury manages funding to the World Bank and the regional development banks.47

46 This definition is derived from ADS Chapter 308: Agreements with Public International Organizations, revised June

15, 2021, p. 7. As noted elsewhere in USAID policy, other statutes or regulations may make designations of PIOs that
differ from USAID’s.
47 For more information on the U.N., see CRS In Focus IF11780, United Nations Issues: Overview of the United

Nations System, by Luisa Blanchfield. For further information on assessed contributions (not a topic of this report) as
well as voluntary contributions (the subject of this section), see CRS In Focus IF10354, United Nations Issues: U.S.
Funding to the U.N. System, by Luisa Blanchfield. For the World Bank, see CRS In Focus IF11361, The World Bank,
by Rebecca M. Nelson.



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Funding to PIOs includes both project-based agreements and “core contributions” to a PIO
operating budget.48 Importantly, U.S. assessed contributions, which are dues owed as an
obligation of membership in the organization, are not considered foreign assistance and thus are
not included in foreign assistance data reporting. “Core contributions” are U.S. voluntary
contributions to a PIO’s operating budget (see “Budget Support and Core Contributions”). Most
PIOs receive foreign assistance funding primarily as either core contributions or project-based
aid. For example, USAID (implementing State Department funds) provided support to the Global
Fund to Fight AIDS, Tuberculosis and Malaria (the Global Fund) primarily through core
contributions from FY2013 to 2022, whereas support to the Global Alliance for Vaccines and
Immunization (GAVI) over that period was largely provided through project-based aid (see
Figure 4).49 Agencies decide such partnering structures by assessing multiple factors, possibly
including congressional directives, the U.S. role in managing a PIO’s decisionmaking (the United
States may substantially influence decisionmaking for entities on whose Board it sits, such as the
World Bank and the Global Fund), the PIO’s accounting practices (such as whether it allocates
costs to individual project budgets or mostly funds them in a general operating budget), which
partnering instrument would best help USAID advance its aims, and the type of implementing
partnership the United States plans with the PIO.




48 Foreignassistance.gov.

49 GAVI and Global Fund contributions are each appropriated to the State Department, but foreignassistance.gov lists

USAID as the managing agency.



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Figure 4. U.S. Nonmilitary Foreign Assistance to Public International Organizations,
                        FY2013-2022 Obligated Funding, Billions Current U.S. Dollars




    Source: foreignassistance.gov.
    Notes: *CGIAR: formerly known as the Consultative Group on International Agricultural Research. All
    recipients over $1 billion are named. Recipients of less than $1 billion have been consolidated into categories
    including “Regional Development Banks,” “Other U.N.,” and “Other Non-U.N.” While the International
    Federation of Red Cross and Red Crescent Societies is classified as an international nonprofit in
    foreignassistance.gov, they are also on USAID’s list of PIOs, so CRS has included them in this figure.

“Core contributions” to PIOs typically do not correspond to a set of performance targets (see the
“Types of Foreign Aid” for information on such distinctions). These funds are pooled with funds
from other donors, and the PIOs typically report annually on all their efforts for a given year,




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rather than individual reports for activities funded by each donor.50 Core contributions support the
general operations of the recipient PIO, although funds may be designated for specific
interventions. For instance, U.S. core contributions to the United Nations High Commissioner for
Refugees (UNHCR) comprise contributions both to its “global appeal,” for the organization’s
core annual operating budget, and to specific refugee response efforts. In FY2019, for example,
the State Department provided UNHCR funding for humanitarian responses in Syria and South
Sudan, among others, as well as for UNHCR’s global appeal budget.51 By contrast, USAID’s
largest core contributions recipient, the Global Fund, received a single annual funding transfer for
its general budget ($15.89 billion from FY2013 to FY2022), with no geographically dedicated
funding streams associated.52
Roughly half of U.S. foreign economic assistance to PIOs (49.6% from FY2013 to FY2022) was
provided as project-based assistance.53 Competition is not required for grants with PIOs, unlike
for NGOs, although USAID encourages it where practicable. PIOs may submit applications for
USAID acquisition and assistance solicitations as well.54 Given the reduced competition and the
frequent unavailability of legal recourse under U.S. law to enforce these agreements, USAID
seeks to conduct an elevated level of vetting for such entities to ensure their financial systems
have adequate controls to moderate the risk of waste, fraud, and abuse.55 PIOs, particularly those
that seek expansive membership and a reputation for neutrality, can operate in certain areas where
other implementers are unable, sometimes making them the only conduit available for the United
States to provide assistance.56

Foreign Governments
U.S. foreign assistance to foreign governments consists of two categories: direct budget support
and project-based assistance (generally provided as a grant). Direct budget support to foreign
governments made up 1.9 % of foreign assistance from FY2013 to FY2022 (Figure 5). More
than 87.3% of those funds went to four governments: 66.9% to the Government of Jordan and
29.5% to three Compact of Free Association (COFA) countries that receive U.S. economic
assistance and security guarantees.57 Budget support to Jordan consists of funds provided to
Jordan’s general treasury and funding to pay interest on existing debt. Although funds are not

50 See, for example, UNHCR’s 2021 Global Report and 2023 Global Appeal, accessible at https://reporting.unhcr.org/

publications.
51 UNHCR, “Ad hoc Committee of the General Assembly for the announcement of voluntary contributions to the

Programme of the United Nations High Commissioner for Refugees (UNHCR Pledging Conference),” December 6,
2022; UNHCR, “South Sudan Funding Update,” April 27, 2023; UNHCR, “Syrian Arab Republic Funding Update
2023,” April 27, 2023.
52 Data and funding descriptions from foreignassistance.gov. While the World Bank Group collectively receives more

assistance than the Global Fund, it is divided among several sub-units. Global Fund assistance is provided through
funding appropriated to the State Department, but USAID is listed as the managing agency.
53 Foreignassistance.gov.

54 USAID, ADS Chapter 308: Agreements with Public International Organizations, revised June 15, 2021, p. 14.

55 Ibid., p. 7.

56 USAID Office of Inspector General, “Insufficient Oversight of Public International Organizations Puts U.S. Foreign

Assistance Programs at Risk,” Audit Report 8-000-18-003-P, September 25, 2018, p. 1.
57 The COFA countries are the Republic of the Marshall Islands, the Federated States of Micronesia, and the Republic

of Palau. COFA countries are former United Nations Trust Territory districts administered by the United States that
through bilateral Compacts became sovereign countries. Compact assistance is administered by the Department of the
Interior. For more on the Compacts, see CRS In Focus IF12194, The Compacts of Free Association, by Thomas Lum.
For more on U.S. assistance to Jordan, see CRS Report RL33546, Jordan: Background and U.S. Relations, by Jeremy
M. Sharp.



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directed to a discrete purpose, tranches of funding have been subject to milestones negotiated
annually by USAID and the Government of Jordan based on government reform or other
government effectiveness benchmarks.58 For COFA countries, budget support is apportioned to
specific sectors (education, health, and infrastructure, among others) at levels agreed upon
annually by the Department of Interior.
Foreign governments also receive project-based assistance. In some cases, project-based
assistance operates similarly to direct budget support. U.S. assistance to the Palestinian Authority
(PA) in FY2011-FY2016, for instance, paid down PA commercial debt in order to maintain its
fiscal viability.59 Large-scale infrastructure projects make up the largest share of project-based
assistance to foreign governments, and such projects fall largely into two categories: (1) foreign
policy-driven investments generally funded by the State Department and managed by USAID
(largely in countries with instability, threats of extremism, or alleged malign foreign influence),
and (2) development-driven investments under the Millennium Challenge Corporation, largely in
well-governed countries. Within both categories, investments focus mostly on electricity
generation and transmission, and transportation and logistics (including highways and port
upgrades).60 The second-largest class of projects implemented through partner governments, next
to infrastructure, is global health programs, including support for government-procured medicine
through the President’s Emergency Plan for AIDS Relief (PEPFAR).61
The categorization of aid to foreign governments is not always straightforward. For example,
U.S. assistance to Ukraine, by far the largest foreign government recipient of foreign aid in
FY2022, is structured as a reimbursement for verified government expenditures. The
reimbursements are managed by the World Bank, and the recipient is reported as the World Bank
rather than the Government of Ukraine (see “Types of Foreign Aid”). The unique nature of the
Ukraine economic support program is profiled in CRS In Focus IF12305, U.S. Direct Financial
Support for Ukraine, by Emily M. McCabe and Nick M. Brown.
Finally, the United States occasionally provides funding to other bilateral donors, largely
European partners whose funding often complements U.S. objectives. USAID may provide funds
to donor countries (such as the United Kingdom or E.U. countries) when such partners have
superior ability to deliver based on programming experience, geographic knowledge, cultural
considerations, or operational footprint, among other possibilities. In such cases, USAID may
provide funding to expand another donor’s programming, rather than administering its own
program. This may also reduce the risk of duplication of efforts, or outright contradictory
programming. For instance, in Nigeria, USAID provided partial funding to a UK program to
improve the country’s health systems.62 USAID has also long jointly implemented and funded aid
projects with the Government of Israel in other countries in order to elevate its international




58 USAID Office of Inspector General (OIG), Jordan Cash Transfer Program: USAID Generally Followed the Grant

Agreement and Agency Policy With Some Due Diligence Exceptions, Report Number 8-278-23-001-P, November 17,
2022, p. 4.
59 State Department, “Congressional Budget Justification FY2015 Appendix 3: Regional Perspectives,” May 2015, p.

498.
60 Foreignassistance.gov.

61 For an overview of PEPFAR, see CRS Report R43232, The President’s Emergency Plan for AIDS Relief (PEPFAR),

U.S. Global HIV/AIDS, Tuberculosis, and Malaria Programs: A Description of Permanent and Expiring Authorities,
by Tiaji Salaam-Blyther.
62 Gov.UK Devtracker, “LAFIYA- Health Resilience in North East (HeRoN),” last updated August 11, 2022; funding

provision indicated by data in foreignassistance.gov.



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cooperation.63 USAID has launched additional such “trilateral cooperation” activities with former
aid recipients, such as with Brazil and Chile—so termed because they involve three parties:
USAID, a former aid recipient, and a beneficiary country.64

             Figure 5. Nonmilitary Foreign Assistance to Foreign Governments
                       Obligated Funding, Billions in Current U.S. Dollars, FY2013-2022




    Source: foreignassistance.gov
    Notes: Compacts of Free Association include Micronesia, the Marshall Islands, and Palau. The largest recipient in
    recent years by a wide margin is the Government of Ukraine, which has received over $22.9 billion in FY2022
    and FY2023, but the recipient is listed as the World Bank, which manages Ukraine budget support as an
    implementing partner, and thus is not captured here. Pakistan assistance includes $43 million in de-obligations
    over this time period, stemming from funding obligations prior to FY2023. MCC Compacts would be a
    substantial component of the funding in this graphic, but the agency does not list the recipient government as the
    implementing partner. As a result, MCC compacts are excluded. Recipients over $100 million are named; all
    others have been consolidated into “UK and EU Donors” or “Other Countries.”


Interagency Agreements
In cases where another U.S. government agency is better-equipped to provide a good or service
than an NGO, USAID may enter into an interagency agreement. For targeted technical support,
USAID uses Participating Agency Services Agreements (PASAs), which can enable other
agencies to second their employees to USAID on either a short-term or long-term basis. Staff
from the Centers for Disease Control and Prevention, for instance, may be mobilized to conduct a
short-term field study in a PEPFAR focus country, or over the long term to oversee execution of a
Global Health Programs grant. In cases where another agency is qualified to conduct an entire

63 The agency signed a memorandum of understanding with Israel’s development agency in 2019 to advance bilateral

cooperation. USAID, “United States and Israel Sign USAID-MASHAV Global Partnership Memorandum of
Understanding,” press release, August 21, 2019.
64 USAID/Brazil, “Trilateral Cooperation,” accessed June 29, 2023; U.S. Embassy in Chile, “U.S. and Chile: Trilateral

Development and Security Cooperation,” press release, July 9, 2014.



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project, USAID uses a Participating Agency Project Agreement (PAPA). For instance, USAID has
provided funding to the Department of Energy’s National Laboratories to advise the Government
of India on power systems planning, as one component of the larger Greening the Grid
initiative.65 The State Department also provides funding to the Departments of Justice and
Homeland Security, among other agencies, to execute some of its International Narcotics Control
and Law Enforcement programs. Interagency agreements have typically constituted a small share
of total assistance (generally less than 1% of USAID’s funding).66 In many cases, interagency
partners are used as conduits for partnering with other NGOs—such as State Department
management of International Narcotics Control and Law Enforcement activities—rather than
implementers themselves. Such cases blur the lines between a “Managing Agency” and an
“Implementing Partner,” given that an NGO in such cases effectively operates as the
implementing partner. As a result, aggregate data are not available on the magnitude of this
funding as a share of foreign aid.


Policy Issues
Partnering decisions affect foreign aid effectiveness, U.S. relations with foreign governments, and
where U.S. funds ultimately are spent. As the 118th Congress weighs its foreign policy priorities,
lawmakers may consider whether aid agencies’ implementation mechanisms are advancing U.S.
foreign policy interests, and doing so in a cost-effective way. This section focuses on issues
affecting congressional oversight of foreign assistance management at USAID.

USAID Operating Costs
Congress has long sought to manage USAID’s “cost of doing business” through a dedicated
“Operating Expenses” account.67 “Program accounts,” by contrast, fund USAID’s development
and humanitarian program implementation. Congressional guidance for costs to be included in
the Operating Expenses account has not been updated in over 40 years, raising questions as to
whether the “cost of doing business” reflects current operations at USAID. When foreign
assistance funding was regularly reauthorized in the 1960s and 1970s, the committees weighed in
on operational issues at USAID such as improving efficiency in agency decisionmaking,
perceived lifestyle extravagance of certain USAID mission directors, and shifting staff from
headquarters to missions.68 Committees have not weighed in on such issues in recent reports or
explanatory statements, and Members could consider reviving such practices as an oversight
measure.
Congress may also revisit the types of costs allocated to the Operating Expenses account. While
Operating Expenses are coded as an administrative cost in foreignassistance.gov, in practice,
Congress directed in the 1970s that all USAID personnel costs be classified as Operating
Expenses—including if such personnel do little administrative work.69 By contrast, personal

65 For an example of such an analysis that has been completed, see National Renewable Energy Laboratory (NREL),

“India Renewable Integration Study,” https://www.nrel.gov/analysis/india-renewable-integration-study.html, accessed
February 23, 2023.
66 USAID OAA, 2023 Fiscal Year Progress Report, p. 2; 2016 Fiscal Year Progress Report, p. 2.

67 Prior to 1976, operating expenses had been directed at the account level, but the Senate argued that a separate line

item would allow better management and oversight of the agency’s cost of doing business. S. Rept. 94-704, p. 104.
68 The Senate Foreign Relations Committee encouraged USAID’s growing use of delegations of authority to field

missions in the last enacted comprehensive foreign aid reauthorization, P.L. 99-83. See S.Rept. 99-34, p. 43.
69 USAID’s current operating policy cites the Senate Report for Fiscal Year 1980 Foreign Assistance and Related

(continued...)



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services and institutional support contractors (see “Definitions” text box) are a composite: those
directly linked with a program are funded by program accounts, and those providing services for
USAID’s benefit are funded by Operating Expenses.70 Over time, USAID’s use of such
contractors has grown, more as a result, according to USAID, of disproportionate growth in
program account appropriations vis-à-vis operating expenses.71 Implementing partners’ operating
expenses are fully covered by program accounts (see “Implementing Partner Indirect Costs”).
This amalgam of allocation approaches may preclude Congress from holistically assessing
whether USAID’s “cost of doing business” is proportionate to the level of foreign assistance
delivered. Congress could evaluate whether its aims in the 1970s and 1980s with respect to
foreign assistance administration remain the same today, and could assess whether or not to set
new standards for the account to track and manage new expenditure objectives. In considering
such updates, Members may reflect on several factors related to USAID operating costs,
including
    •    managing the size and shape of USAID’s workforce, including use of less-
         expensive local employees and share of U.S. staff working in missions;
    •    assessing the ratio of resources directed to administrative versus technical work;
    •    balancing investments in USAID’s program design efforts against its oversight of
         implementing partners; and
    •    evaluating what share of foreign assistance dollars are actually spent in a
         beneficiary country.
Congress could also evaluate a return to the approach of the early 1970s, when operating
expenses were included as a sub-allocation within each program account. This reduced staffing
flexibility, but may have allowed greater understanding of the relative “costs of doing business”
for each segment of USAID’s work. Congress could also compare the ratio of Operating
Expenses to program accounts against practices in the private sector or other U.S. agencies (as
well as other donors’ aid agencies) to determine whether funding levels are appropriate.

Implementing Partner Indirect Costs
While the Operating Expenses account provides Congress an annual tool to weigh in on USAID’s
cost of doing business, there is no such readily available tool for managing contractors’ cost of
doing business. Those costs are classified as contractor indirect costs under U.S. government
accounting principles. Major USAID NGOs operate under a “Negotiated Indirect Cost Rate


Programs Appropriations Act as its basis for determining which USAID expenditures may be funded by operating
expenses. USAID, ADS Chapter 601: Funding Source Policy, updated December 21, 2011, p. 3, citing S.Rept. 96-358.
Congressional reports have in some cases conflated the Operating Expenses account with the agency’s administrative
costs, though Congress indicated when creating the account that it would go beyond administrative tasks. S.Rept. 93-
620, p. 78.
70 U.S. Government Accountability Office, Foreign Assistance: USAID’s Operating Expense Account Does Not Fully

Reflect the Cost of Delivering Foreign Assistance, GAO-03-1152R, September 30, 2003. Based on the determinations
of this report (reflected in its title), USAID established comprehensive allocation policies for the Operating Expenses
account, including for contractors.
71 USAID’s Operating Expenses account obligations were 10.31% of all USAID-managed program accounts in 2009

regular appropriations (Div. H of P.L. 111-8), and 8.84% of all program accounts in 2024 regular appropriations (Div.
F of P.L. 118-47). This includes the Economic Support Fund, which is largely implemented under USAID, but
excludes Global Health Programs—State, as large parts of it are not USAID-managed. The ratio has fluctuated over
time. Operating Expenses account obligations were 8.19% of obligations to program accounts in 1989 (P.L. 100-461).
By comparison, USAID allows a “de minimis” indirect cost rate for its implementing partners of 10%—considered a
floor for such costs, which for most partners is likely higher.



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Agreement,” or NICRA. Moreover, Congress has not been able to obtain information from
USAID on the magnitude of such indirect costs.72 USAID and its implementing partner NGOs
have sought not to share such information publicly, citing that many NGOs are reported to
consider such information as proprietary or business confidential and consequently could affect
their competitiveness.73 USAID also indicated that indirect costs are not to be considered when
assessing cost effectiveness. USAID has also stated that comparing indirect cost rates across
organizations is “generally not possible.”74 This is because each implementing partner has its own
policy for allocating indirect versus direct costs. Importantly, indirect costs are also not
exclusively a measure of organizational “overhead” or administrative costs—project accountants
are often a direct project cost, while some project technical leads may be a part of indirect costs.
Despite their description as “negotiated,” government guidance on negotiating indirect cost rates
primarily concerns determining the ratio of an NGO’s direct to indirect costs, as well as assessing
what is allowable, rather than bargaining with those NGOs to drive their indirect costs down.75
These costs may be substantial. In 2002, USAID estimated its partners’ average indirect costs to
be 30% of project direct costs, and two Members of the 118th Congress suggested that such costs
have risen in recent years.76 A 2021 estimate by a group of development experts indicated that
overhead and company profits could be 50% for some implementing partners.77 Other donors,
such as the E.U. and some U.N. agencies, have capped indirect costs at a lower rate, around 7%,
but some analysts have asserted that such caps can lead implementing partners to conceal
operating costs as project expenses. Those analysts argue that USAID’s NICRAs are often a purer
reflection of indirect costs than other donors.78
Such costs may be necessary to “keep the lights on” among implementing partners and ensure
that a competitive, qualified bidding pool remains available to respond to and implement aid
activities. One type of indirect cost, for instance, is the cost to NGOs of responding to USAID
solicitations—often a complex, rigorous process from which USAID benefits if applicants put
together highly responsive bids. Some private foundations have recently published analyses
determining that focusing on excessive overhead spending, long a concern among commentators
on charitable giving, may have negative consequences in eroding charities’ institutional
capacity.79
Regardless of the efficacy of indirect cost levels, an audit commissioned by USAID’s Inspector
General and issued in 2024 purported several deficiencies in USAID’s management of indirect
costs.80 The auditor argued that USAID does not have a system to track indirect cost data, and
assessed that USAID lacked both verification procedures for sub-awardees, and documentation
supporting indirect costs. USAID disputed the latter two claims, arguing that it places

72 Letter from Michael McCaul, Chairman of the House Foreign Affairs Committee, and Joni Ernst, U.S. Senator from

Iowa, to Samantha Power, USAID Administrator, April 24, 2023.
73 Ibid.

74 USAID, “Best Practices Guide for Indirect Costing: A Mandatory Reference for ADS Chapter 302,” revised

November 17, 2014, p. 6.
75 See Appendix IV to 2 C.F.R. §200.

76 USAID Communication with CRS, September 2002, p. 3 [report is in hard copy]. Michael Igoe, “Lawmakers

demand information about USAID indirect cost rates,” Devex, April 25, 2023.
77 Natalie Kitroeff and Michael Shear, “U.S. Aid to Central America Hasn’t Slowed Migration. Can Kamala Harris?”

The New York Times, June 6, 2021.
78 David Ainsworth, “Are US lawmakers right to challenge USAID overhead spending?” Devex, July 3, 2023.

79 Ibid.

80 USAID Office of the Inspector General, “Negotiated Indirect Cost Rate Agreements: Opportunities Exist to Improve

Processes and Data Management,” Audit Report 3-000-24-001-U, January 26, 2024.



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responsibility for such verifications and documentation contractually on its implementing
partners. The agency did concur that its NICRA tracking software is reliable and accurate but “not
a robust and automated system.” USAID agreed that the agency would benefit from automation.
Upon development of such an automated system, USAID may be able to more readily address
lawmakers’ inquiries regarding indirect cost volumes.

Nongovernmental Partners’ Role in the USAID Ecosystem
Congress has sometimes sought to manage the composition of USAID’s NGO implementing
partner base—the balance of nonprofits to for-profit firms, the extent of nonprofit organizations’
reliance on U.S. assistance dollars, and USAID staff demeanor toward its implementing partners.
USAID’s 2018 Acquisition and Assistance Strategy stated that the number of new USAID
partners had decreased consistently since 2011 and recommended engaging new and
underutilized partners. The Strategy asserted that this consolidation should be counteracted and
that a varied partner base would provide a more diverse array of technical competencies and
perspectives for activity implementation.81 Assistance data indicate that the number of unique
USAID partners declined from 2017 to 2020 but has been increasing substantially since then.

  NGOs by Number of Appearances             At the same time, aid data indicate that USAID’s
  as Annual Top Five USAID Partner,         major implementing partners are strikingly stable
           FY2013-FY2022                    over time: three NGOs have been among USAID’s
                                  Times
                                            top five partners every year for the past decade,
       Organization Name         Appearing  with two more appearing nearly every year (see
                                            text box). The top five implementers have
  Chemonics International, Inc.     10      consistently received roughly 20% of all USAID
  FHI360                            10      obligations to NGOs each year. Some USAID
  Development Alternatives, Inc.    10      implementing partners have addressed the
                                            aforementioned USAID concerns about
  Abt Associates, Inc.               9
                                            consolidation by asserting that consolidation to a
  Catholic Relief Services           8      smaller group of high-performing industry leaders
  RTI International                  2      is natural for maturing industries.82 At the same
                                            time, more than 1,300 NGOs have received
  Management Sciences for Health     1
                                            greater than $1 million in obligations from USAID
 Source: ForeignAssistance.gov.             over that period, indicating barriers to entry are
                                            not prohibitive. This highly stable set of
implementing partners nevertheless may draw congressional interest in USAID’s relationship
with those NGOs.
Congress asserted in 1978 that U.S. nonprofit organizations, called “private and voluntary
organizations” in statute, are a potentially powerful tool for mobilizing charitable resources and
demonstrate “the American spirit of self-help and assistance to others.”83 Some developments
since then may call into question the extent to which USAID’s partner community reflects such
grassroots mobilization. As long-standing USAID partners have adjusted their business practices
toward winning and implementing USAID awards, they have shaped their organizational

81 USAID, “Acquisition and Assistance Strategy,” December 2018, p. 2.

82 Larry Cooley, Jean Gilson, and Indira Ahluwalia, “Perspectives on Localization,” August 2021, p. 2. For an

articulation of USAID’s concerns, see USAID, Acquisition and Assistance Strategy, February 4, 2019, p. 1 (note: an
updated Strategy was issued in March 2023, but did not focus on the issue of consolidation).
83 §123 of the Foreign Assistance Act of 1961, P.L. 87-195, as amended, as added by §102 of the International

Development and Food Assistance Act of 1978, P.L. 95-424.



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practices to account for U.S. government accounting practices, compliance procedures, and
development policies. As a result, USAID can attract qualified bidders for its projects overseas
who are well-versed in agency policies, which may in part explain why USAID’s top
implementing partner list remains so stable. The aptness of these partners to comply with USAID
regulations and align with agency priorities may impede efforts to localize U.S. foreign
assistance, given qualified U.S. NGOs can often meet compliance burdens more easily (see
“Local Partnering”).
This alignment of NGOs with agencies’ policies and priorities may also diminish the extent to
which NGOs articulate and advance a mission statement independent of U.S. government
concerns. USAID may be constrained to engage with new outside partners, whose experience
outside of government may bring fresh thinking and diverse perspectives to bear on long-standing
development challenges. Such NGO policy alignment with USAID may blur the line between
contracts, in which USAID acquires something for its own use, and grants, in which USAID
provides funding to an entity whose activities align with U.S. objectives.84 Such considerations
are well-documented in the defense industry and accepted as beneficial to some degree: for
example, imperatives in the national security establishment to sustain the “defense industrial
base.”85 For USAID, if the U.S. government is the near-exclusive funder of such entities, there
may be fewer implementing partners that independently design their own programs and
objectives. If USAID’s implementer community lost such independent voices, ostensibly private
NGOs could become extensions of USAID’s thinking and operations. Having a stable set of
partners focused primarily on USAID’s priorities could improve award applicants’ responsiveness
to USAID priorities, but it could discourage emergence of innovative technical approaches if
potential new partners find it challenging to submit responsive project proposals. Indeed, in 1981
the Senate observed that USAID held a “natural but problematic tendency” to view nonprofits as
“extensions of [US]AID itself, not as development agencies with their own distinctive traditions,
relationships, and styles.”86 Congress could consider to what extent foreign assistance policies
encourage NGOs to prioritize USAID business over self-directed objectives. Congress may also
evaluate how this relates to the goal in the Foreign Assistance Act of 1961 of having USAID
partner with private entities as much as possible.87
Congress could consider legislative tools to manage the extent of implementing partners’ reliance
on foreign assistance dollars. In 1981, Congress amended the Foreign Assistance Act of 1961 to
require that private and voluntary organizations obtain at least 20% of their funding from sources
other than the U.S. government, unless the Administrator provides a waiver.88 That provision was
shifted to annual appropriations measures in FY1998. It was removed beginning in FY2005. No
public explanation was provided for its removal. It was removed in the midst of an expansion of
USAID’s budget in the wake of the U.S. invasions of Afghanistan and Iraq and the launch of the
President’s Emergency Plan for AIDS Relief (PEPFAR). Subsequent to the removal of that
requirement, in 2011 one of USAID’s largest implementing partners, the Academy for
Educational Development (AED), dissolved after being suspended from future USAID assistance
because of allegations of false claims on two of its programs.89 The organization noted that it

84 Federal Grant and Cooperative Agreement Act, 31 U.S.C. §6301.

85 CRS In Focus IF10548, Defense Primer: U.S. Defense Industrial Base, by Luke A. Nicastro and Heidi M. Peters.

86 S.Rept. 97-83, p. 54.

87 Foreign Assistance Act of 1961, P.L. 87-195, as amended, §102(b)(8).

88 Foreign Assistance Act of 1961, P.L. 87-195, as amended, §123(g) (repealed).

89 Department of Justice, “Washington, D.C.-based Academy for Educational Development Pays More Than $5 Million

to Settle False Claims Act Allegations,” press release, June 30, 2011; USAID, “USAID Suspends Academy for
Educational Development from Receiving New U.S. Government Awards,” press release, December 8, 2010.



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received 90% of its funding from USAID and other federal agencies and thus could not continue
as an independent entity.90 The organization into which it was absorbed, FHI-360, which remains
one of USAID’s largest partners, also reported receiving more than 80% of its funding from the
U.S. government in 2023.91 Congress may consider the rationale for both the 80% limit and its
2005 removal, and evaluate whether foreign assistance agencies are best served by being one
funder among many in an international development industry, or whether foreign assistance
benefits from a “development industrial base” similar to the national security establishment’s
defense contractor community.92

Competition and Oversight on PIO Agreements
USAID generally seeks to award funds to implementing partners through a competitive process,
viewing competition as a way to “identify and fund the activities that best achieve USAID
objectives.”93 The agency also often manages its NGO partners with “substantial involvement” in
an activity’s day-to-day operations.94 Awards to PIOs, however, do not require competition prior
to award, and PIOs are subject to “less oversight or fewer restrictions” than NGOs, according to
USAID’s Inspector General (IG).95
USAID policy states that it may not award funds to PIOs solely to avoid competition. However,
the absence of competition, and the absence of viable alternatives in certain aid settings, may
make USAID captive to certain PIOs if they are the only vehicle available for certain sectors and
geographies. As a result, PIOs may have fewer incentives to meet USAID’s implementation
preferences. As noted above, the structure of such partnerships as grant agreements rather than
contracts or cooperative agreements may also reduce transparency to the public given more
limited reporting requirements. A 2018 audit by the USAID IG identified “major fraud schemes”
on USAID activities in Iraq and Syria, including under PIOs.96 It determined that, in certain cases,
USAID had not completed necessary preapprovals of PIOs for USAID partnering prior to award.
The IG also determined that USAID policy did not align with federal internal control standards,
prompting the agency to revise its policy on PIO agreements.97
As a result of policy revisions prompted by the IG review, USAID has documented its partnering
policy with PIOs more thoroughly. Nonetheless, Congress may further assess USAID’s oversight



90 Christopher Beam, “Contract Killer: Why did USAID suspend one of its biggest contractors without any

explanation?” Slate, March 31, 2011; AED, “AED to Seek Orderly Acquisition and Transfer of its Programs and
Assets; 50-year-old NGO Maps Positive Way Forward for Projects and Staff,” press release, 2011.
91 FHI-360, Advancing equity, health, and well-being: 2024 Impact Report, ”2024 Financial Summary,” 2024.

92 “Development industrial base” terminology conceptualized by the author.

93 USAID, ADS Chapter 303: Grants and Cooperative Agreements to Non-Governmental Organizations, revised

3/16/23, p. 22.
94
   Ibid., pp. 43-44.
95 USAID OIG, Insufficient Oversight of Public International Organizations Puts U.S. Foreign Assistance Programs at

Risk, Audit Report 8-000-18-003-P, September 25, 2018, p. 2. For instance, the largest NGO partner with USAID from
2013 to 2022 was Chemonics International, which authored 4,276 documents available in the USAID Development
Experience Clearinghouse library over that period, compared with 62 documents by the largest PIO partner over the
same period, the World Food Programme (WFP). WFP may not be contractually bound to the same document
submission requirements as Chemonics, and, consequently, information on WFP’s USAID-funded activities may be
less publicly available. USAID, Development Experience Clearinghouse, search completed July 5, 2024.
96 USAID OIG, Insufficient Oversight of Public International Organizations Puts U.S. Foreign Assistance Programs at

Risk, Audit Report 8-000-18-003-P, September 25, 2018, p. 1.
97 USAID, ADS Chapter 308: Agreements with Public International Organizations, revised June 15, 2021, pp. 10-11.




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of PIO agreements.98 For instance, Congress may assess the extent to which PIO agreements are
included in USAID’s annual plan for evaluation of projects compared with NGO-implemented
projects. Congress may also evaluate USAID’s “core contribution” funding to PIOs and the extent
to which performance metrics are agreed to and tracked under those mechanisms.

Local Partnering
Since the early 2000s, every USAID Administrator has prioritized greater engagement with local
communities in recipient countries to both plan and implement foreign aid dollars—an initiative
known as “local ownership” or “localization.”99 As justification for this goal, Administrators have
cited possible lower costs for overhead and an opportunity to maximize the benefit to local
communities for each dollar of foreign assistance.100 They have also asserted that, once nourished
by U.S. aid dollars, local organizations would be more likely to keep operating after USAID
departs.101 As one facet of that effort, certain Administrators have sought to expand the share of
dollars going to “local entities.”102 That objective has under at least three localization initiatives
been fraught with definitional issues, concerns about unintended consequences, and questions
about whether that objective is the best way to make aid more responsive to local priorities.103
USAID Administrator Samantha Power has revived a local partnering target, seeking for 25% of
all acquisition and assistance dollars to be directed to local entities by 2025.
One especially disputed aspect of this target has been which entities to include in this 25% target.
In its August 2022 “vision and approach” document on localization, USAID stated that it will
count only organizations “registered and headquartered in the country in question,” with
particular interest in organizations that are based in the communities where activities are to
occur.104 Prior to Administrator Power’s tenure, USAID had included “locally established
partners,” which includes both local entities and international organizations with local offices.105
However, a 2023 analysis determined that USAID’s proposed approach may both overestimate
how much funding is going to local organizations and under-count total dollars obligated by
USAID. The analysis indicated that USAID may inadvertently classify some locally established
partners as local entities based on the databases used to track funding. For example, a local NGO
in Guatemala spotlighted by USAID as obtaining a USAID grant had broken away from a larger
international NGO that partners regularly with USAID.106 Such an example may not reflect the

98 The USAIG marked a recommendation to update the ADS Chapter 308 as “closed” as of February 11, 2020.

99 USAID, Policy Framework for Bilateral Foreign Aid, January 2006, p. 23; USAID, “Remarks by Administrator

Rajiv Shah at the USAID Forward Progress Event,” press release, March 20, 2013; USAID, Policy Framework: Ending
the Need for Foreign Assistance, 2019, p. 16; USAID, Localization at USAID: The Vision and Approach, August 2022.
100 USAID, “Remarks by USAID Administrator Dr. Rajiv Shah at the Center for Global Development,” January 19,

2011; USAID, “Administrator Samantha Power On A New Vision for Global Development,” November 4, 2021.
101 USAID, “Remarks by USAID Administrator Dr. Rajiv Shah at the Center for Global Development,” January 19,

2011; USAID, Acquisition and Assistance Strategy, February 2019, p. 4; USAID, “Localization at USAID: The Vision
and Approach,” August 2022.
102 USAID, “Remarks by USAID Administrator Dr. Rajiv Shah at the Center for Global Development,” January 19,

2011; USAID, Acquisition and Assistance Strategy, February 2019, p. 4.
103 Those include the USAID Forward initiative in the Obama Administration, the USAID Transformation initiative in

the Trump Administration, and the Localization initiative currently ongoing.
104 USAID, Localization at USAID: The Vision and Approach, August 2022, p. 4.

105 A definition of locally established partners is available at https://www.usaid.gov/npi/npi-key-definitions. USAID’s

2018 Acquisition and Assistance Strategy, since updated to omit locally established partner targets, emphasizes locally
established partners as a primary goal. See USAID, Acquisition and Assistance Strategy, February 2019, p. 4.
106 Rachel Chilton, “The Path to Prime Partnership: Insights from a Local Partner,” workwithusaid.org blog, January

11, 2023.



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type of support to an indigenously created community organization that USAID policy has
characterized as the goal of localization efforts.107 In addition, USAID does not plan to make
assistance provided through PIOs subject to the target—a policy that would amount to a
substantial carve-out of U.S. foreign assistance from the 25% target.108 USAID has acknowledged
some of these data limitations, describing its direct local funding indicator as “a proxy” for
broader local entity criteria, rather than authoritative.109
While some development commentators have raised such doubts over the methodology for
reaching the target, others have questioned whether the goal of direct local partnerships is
efficacious at all. A 2021 analysis sponsored by some U.S.-based USAID implementing partners
contends that projects implemented through U.S. NGO partners of USAID have increasingly
relied upon local staff, with more than half of project leadership positions filled by local
personnel. It also notes that 18% of project funds are sub-granted or subcontracted to local
partners.110 This percentage indicates that projects implemented by U.S. NGOs have moved
toward USAID’s 25% local partner target in recent years, but that further information is needed to
determine the definitions used for local entities and the costs considered subject to that
calculation—specifically, whether that amount is strictly direct cost procurement or whether it
includes staff salaries and NGOs’ indirect costs as well. USAID has sought in the past to collect
precise data on this figure, with an uncertain degree of success.111 A recent open letter signed by
several foreign assistance transparency and effectiveness advocates encouraged USAID to
mandate that implementing partners share levels of aid sub-awarded to local organizations.112
Congress may examine USAID’s efforts to tabulate such sub-awards to local entities, given that
the aforementioned survey suggests that implementing partners have tabulated such information.
Some Members have raised concerns that partnering with local entities may carry fiduciary risks.
In response to an Obama Administration initiative to increase the share of awards going to local
organizations, the then-Chair of the House Oversight Committee raised concerns about directing
aid through organizations without U.S. accounting practices, and further claimed that contracts
are “inherently more transparent and accountable” than the grant awards often used to partner
with local organizations.113 USAID’s current Risk Appetite Statement assigns “low” tolerance for
fiduciary risk, which may be a hurdle to achieving the agency’s localization goals.114 Overcoming
that hurdle may create additional challenges. As noted above, some U.S. NGOs have to some
extent reoriented their internal procedures to focus primarily on winning and implementing
USAID programs (see “Nongovernmental Partners’ Role in the USAID Ecosystem”). Local
organizations may find a similar need to transform themselves into primarily foreign aid-oriented
entities to overcome fiduciary concerns—a consequence that would run counter to USAID’s long-
standing effort to transition countries away from foreign aid.


107 USAID, Local Systems: A Framework for Supporting Sustained Development, April 2014.

108 Publish What You Fund, “Metrics Matter: How USAID counts ‘local’ will have a big impact on funding for local

partners,” March 2023; USAID, “Key Performance Indicators: Direct Acquisition & Assistance Funding for
Localization,” April 2023, p. 2.
109 USAID, “Key Performance Indicators: Direct Acquisition & Assistance Funding for Localization,” April 2023, p. 3.

110 Based on a survey of USAID contractors, including all of the top 10 recipients of USAID contracts. Perspectives on

Localization, August 2021, p. 3.
111 USAID, Acquisition and Assistance Strategy, February 2019, p. 3.

112 Open Letter to USAID Administrator Power, “We need more U.S. foreign aid transparency,” February 2023,

https://aidtransparency.controlshift.app/petitions/we-need-more-aid-transparency.
113 Letter from Darrell E. Issa, Chairman of the House Committee on Oversight and Government Reform, to Rajiv

Shah, USAID Administrator, April 26, 2012.
114 USAID, “Risk Appetite Statement,” June 2018, p. 10.




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Public comments of Members have generally been supportive of recent localization efforts, and
some members of the development community have been supportive as well.115 A recent
legislative proposal is meant to make it easier for local organizations to partner with USAID,
including by potentially supporting use of local languages in partnering processes and giving a
higher baseline indirect cost rate to local organizations.116 Nevertheless, Congress has yet to
weigh in through oversight, reports, or legislation on localization goals relative to other priorities,
such as fiduciary or operational risks. Congress may consider how, if at all, to evaluate such risk
factors in light of their possible impact on localization. Moreover, congressional action may assist
in tracking the efficacy of localization: while successive administrators have touted the aim of
localization, each new administrator has also replaced his or her predecessor’s approach with a
new one. Sustained congressional oversight of or directives on localization could secure more
consistent tracking of localization outcomes and impact.


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115 For instance, Senator Tim Kaine introduced a bill (S. 2509) alongside Senator Marco Rubio authorizing the New

Partnerships Initiative, a USAID program launched during the Trump Administration to expand USAID partnering
with local actors. The Heritage Foundation also applauded localization efforts under the Trump Administration, arguing
that “more funding to local organizations produces better aid outcomes.” Max Primorac, “Chapter 9: Agency for
International Development,” in Mandate for Leadership: The Conservative Promise, ed. Paul Dans and Steven Groves
(Heritage Foundation, 2023), p. 263. Stakeholders in the development community have also expressed support for
localization, while raising methodological concerns. Omar Mohammed, “Is USAID taking the right approach on
localization?” Devex, June 26, 2023.
116 H.R. 7710. CRS identified at least one case in which USAID prohibited use of any indirect cost billings for local

implementers (USAID/Philippines, Request for Proposal (RFP) No. 72049223R00001: Philippines, Pacific Islands and
Mongolia Monitoring, Evaluation and Learning Activity (PIMMELA), November 23, 2022, p. 9).



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